 1   Tom McAvity, 034403
     Phoenix Fresh Start Bankruptcy
 2   4602 E Thomas Rd, Ste S−9
     PHOENIX, AZ 85028
 3   Phone: 602-598-5075
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 4

 5                              UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF ARIZONA
 6
                                                     )   Chapter: 13
 7   In re:                                          )
                                                     )
 8   STEPHANIE DEL KARMEN CARDOZA                    )   Case No. 2:23-bk-08516-BKM
     MANCIA,                                         )
 9                                                   )
                                                     )   OBJECTION TO TRUSTEE’S
10                                                   )   RECOMMENDATION
                                                     )
11                                     Debtor.

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13            Comes now the above-named Debtor, STEPHANIE DEL KARMEN CARDOZA
     MANCIA, by and through counsel of record and hereby objects to the Chapter 13 Trustee’s
14
     Recommendation filed on March 4, 2024 docketed at docket no. 29. Debtor has not been able to
15
     fully comply with the Trustee’s Recommendations and is still working to resolve the outstanding
16   issues in order to comply with the Trustee’s evaluation. Debtor represents the following in
17   support of their motion:

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              1.     Debtor is working to resolve recommendation item 1 with regards to the secured
19                   claim filed by Westlake Services, claim 3.
20            2.     Debtor is working to resolve recommendation item 4 with regards to the claim
                     filed by Sundance Residential HOA, claim 11.
21
              3.     Debtor is working to bring plan payments current.
22

23                                     PRAYER FOR RELIEF
24            WHEREFORE, Debtor prays that the Court grant additional time, and grant Debtor until

25   June 5, 2024 to comply with Trustee Recommendations.




     Objection
     Case  2:23-bk-08516-BKM        Doc 35 Filed 05/06/24 Entered 05/06/24 14:03:25                Desc
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            Dated: May 6, 2024.
 1

 2
                                                                   Respectfully submitted:
 3                                                                 _/s/ Tom McAvity
                                                                   Tom McAvity, 034403
 4                                                                 Phoenix Fresh Start Bankruptcy
                                                                   4602 E Thomas Rd
 5
                                                                   Phoenix AZ 85018
 6
                                                                   Attorney for Debtor

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                                      CERTIFICATE OF SERVICE
14
            This is to certify that the foregoing was submitted on May 6, 2024 in the United States
15
     Bankruptcy Court for filing and transmittal of notice of electronic filing to the United States
16   Trustee, the Chapter 13 Trustee and the ECF registrants, including counsel for each of debtors’
17   mortgage creditors, appearing in this case.

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19          By: /s/Tom McAvity_______________________
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     Objection
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